               Case 1:24-cv-07545-NRM-LKE                                   Document 1-1 Filed 10/29/24                                           Page 1 of 2 PageID #:
JS 44 (Rev. 4-29-21                                                       CIVIL COVER
                                                                                    31 SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
       PAUL ABRAMSON, on behalf of himself and                                                           Dp Hospitality Group, LLC
       all others similarly situated
   (b) County of Residence of First Listed Plaintiff Kings                                               County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)

      GABRIEL A. LEVY, ESQ
      1129 Northern Blvd, Suite 404
      Manhasset, NY 11030
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                     and One Box for Defendant)
   1   U.S. Government                  3   Federal Question                                                                  PTF        DEF                                          PTF      DEF
         Plaintiff                            (U.S. Government Not a Party)                    Citizen of This State            1          1       Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

   2 U.S. Government              4 Diversity                                                  Citizen of Another State            2          2    Incorporated and Principal Place           5         5
         Defendant                     (Indicate Citizenship of Parties in Item III)
___________________________________________________________________________                                                                          of Business In Another State
 Does this action include a motion for temporary restraining order or order                    Citizen or Subject of a             3          3    Foreign Nation                             6         6
 to show cause? Yes___ No___”                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                               TORTS                           FORFEITURE/PENALTY                      BANKRUPTCY                        OTHER STATUTES
   110 Insurance                       PERSONAL INJURY              PERSONAL INJURY               625 Drug Related Seizure             422 Appeal 28 USC 158              375 False Claims Act
   120 Marine                          310 Airplane                365 Personal Injury -              of Property 21 USC 881           423 Withdrawal                     376 Qui Tam (31 USC
   130 Miller Act                      315 Airplane Product            Product Liability          690 Other                                28 USC 157                         3729(a))
   140 Negotiable Instrument                Liability              367 Health Care/                                                                                       400 State Reapportionment
   150 Recovery of Overpayment         320 Assault, Libel &            Pharmaceutical                                                  PROPERTY RIGHTS                    410 Antitrust
       & Enforcement of Judgment            Slander                    Personal Injury                                                  820 Copyrights                    430 Banks and Banking
   151 Medicare Act                    330 Federal Employers’          Product Liability                                                830 Patent                        450 Commerce
   152 Recovery of Defaulted                Liability              368 Asbestos Personal                                                835 Patent - Abbreviated          460 Deportation
        Student Loans                  340 Marine                      Injury Product                                                       New Drug Application          470 Racketeer Influenced and
        (Excludes Veterans)            345 Marine Product              Liability                                                        840 Trademark                         Corrupt Organizations
   153 Recovery of Overpayment              Liability             PERSONAL PROPERTY                        LABOR                        880 Defend Trade Secrets          480 Consumer Credit
       of Veteran’s Benefits           350 Motor Vehicle           370 Other Fraud                710 Fair Labor Standards                  Act of 2016                       (15 USC 1681 or 1692)
   160 Stockholders’ Suits             355 Motor Vehicle           371 Truth in Lending               Act                                                                 485 Telephone Consumer
   190 Other Contract                      Product Liability       380 Other Personal             720 Labor/Management                 SOCIAL SECURITY                        Protection Act
   195 Contract Product Liability      360 Other Personal              Property Damage                Relations                        861 HIA (1395ff)                   490 Cable/Sat TV
   196 Franchise                           Injury                  385 Property Damage            740 Railway Labor Act                862 Black Lung (923)               850 Securities/Commodities/
                                       362 Personal Injury -           Product Liability          751 Family and Medical               863 DIWC/DIWW (405(g))                 Exchange
                                           Medical Malpractice                                        Leave Act                        864 SSID Title XVI                 890 Other Statutory Actions
       REAL PROPERTY                     CIVIL RIGHTS             PRISONER PETITIONS              790 Other Labor Litigation           865 RSI (405(g))                   891 Agricultural Acts
   210 Land Condemnation               440 Other Civil Rights      Habeas Corpus:                 791 Employee Retirement                                                 893 Environmental Matters
   220 Foreclosure                     441 Voting                  463 Alien Detainee                 Income Security Act              FEDERAL TAX SUITS                  895 Freedom of Information
   230 Rent Lease & Ejectment          442 Employment              510 Motions to Vacate                                               870 Taxes (U.S. Plaintiff              Act
   240 Torts to Land                   443 Housing/                    Sentence                                                             or Defendant)                 896 Arbitration
   245 Tort Product Liability              Accommodations          530 General                                                         871 IRS—Third Party                899 Administrative Procedure
   290 All Other Real Property         445 Amer. w/Disabilities -  535 Death Penalty                  IMMIGRATION                           26 USC 7609                       Act/Review or Appeal of
                                           Employment              Other:                         462 Naturalization Application                                              Agency Decision
                                       446 Amer. w/Disabilities -  540 Mandamus & Other           465 Other Immigration                                                   950 Constitutionality of
                                           Other                   550 Civil Rights                   Actions                                                                 State Statutes
                                       448 Education               555 Prison Condition
                                                                   560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an “X” in One Box Only)
   1 Original             2 Removed from                     3     Remanded from            4 Reinstated or              5 Transferred from        6 Multidistrict                    8 Multidistrict
     Proceeding             State Court                            Appellate Court            Reopened                     Another District            Litigation -                     Litigation -
                                                                                                                           (specify)                   Transfer                         Direct File
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                        42 U.S.C. § 12181, et seq. and 28U.S.C. § 1332
VI. CAUSE OF ACTION Brief description of cause:
                                        Plaintiff alleges violations of the Americans with Disabilities Act.
VII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION                      DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                              UNDER RULE 23, F.R.Cv.P.                                                                         JURY DEMAND:                     Yes           No
VIII. RELATED CASE(S)
                                            (See instructions):
      IF ANY                                                        JUDGE                                                              DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
10/29/24
FOR OFFICE USE ONLY

   RECEIPT #                     AMOUNT                                   APPLYING IFP                                   JUDGE                            MAG. JUDGE
                           CERTIFICATION
          Case 1:24-cv-07545-NRM-LKE     OF ARBITRATION
                                      Document            ELIGIBILITY
                                               1-1 Filed 10/29/24 Page 2 of 2 PageID #:
                                                                                     32 damages only in an amount not in excess of $150,000,
Local Arbitration Rule 83.7 provides that with certain exceptions, actions seeking money
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.

Case is Eligible for Arbitration

   Gabriel A. Levy
I, __________________________________________,      counsel for____________________________, do hereby certify that the above captioned civil action is ineligible for
compulsory arbitration for the following reason(s):

                        monetary damages sought are in excess of $150,000, exclusive of interest and costs,

                        the complaint seeks injunctive relief,

                        the matter is otherwise ineligible for the following reason


                                   DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1
                                   Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:




                                   RELATED CASE STATEMENT (Section VIII on the Front of this Form)
Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a) provides that “A civil case is “related”
to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a
substantial saving of judicial resources is likely to result from assigning both cases to the same judge and magistrate judge.” Rule 50.3.1 (b) provides that “ A civil case shall not be
deemed “related” to another civil case merely because the civil case: (A) involves identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that
“Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be “related” unless both cases are still
pending before the court.”


                                       NY-E DIVISION OF BUSINESS RULE 1(c)
1.)         Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
            County?                     Yes              No

2.)         If you answered “no” above:
            a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
            County?                 Yes               No

            b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
            District?               Yes               No

            c) If this is a Fair Debt Collection Practice Act case, specify the County in which the offending communication was
            received:______________________________.

If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in an interpleader action, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau or
Suffolk County?___________________________________
          (Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

                                                                                        BAR ADMISSION

            I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.

                                                             Yes                                                          No

            Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?

                                                             Yes       (If yes, please explain                            No




            I certify the accuracy of all information provided above.

            Signature: ____________________________________________________
                                                                                                                                                                       Last Modified: 11/27/2017
